Case 2:16-cv-09658-I\/|LCF-KWR Document 1-1 Filed 06/10/16

A’ITORNE\"S NAME: \Vom::c. Edwnrdl 02195

 

AND ADDRESS: 3501 Canal Sln:ct. , New Orleans, LA 70119
ClVlL DlSTRICT COURT FOR THE PARISH OF ORLEANS
S'l'A'l`E OF LOUIS].ANA
NO: 2016-04538 DlVISlON: M SECTION: 13
ADAMS, NlCOLE A.
Versus

AU'l`O OWNERS INSURANCE COMPANY ET A`L
CITATION - LONG ARM

TO: ~ MlTCHELL WELDlNG, LLC.
THROUGH: 'I`HE LOUlSlANA LONG ARM STATUTE & REGISTERED AOENT FOR SERVICE OF
?ROCESS

DAVE G. MlTCHELL, RR| BOX lll CO RD 29, MARION, AL 36795

YOU HAVE BEEN SUED:
¥on must either comply with the demand contained in the

Petition for Damages
a ecnil`red copy of which accompanies this citation, or tile an answer or other legal pleading in the office of the
Clerk of this Conrt, Rootn 402, Civil Coarts Bni|ding, 421 Loyoln Avenue, New Orleans, LA, within thirty (30)
days afier the filing in the record of the a|`l`rdnvit of the individual attesting to the manner of delivery made through
the "Long Ann Statute" under penalty ofdcf`ault.

ADDI'I‘IONAL INFORMATION
chal assistance is advisablc. lf you want n lawyer and ean't find one, you may call the New Orleans
I_awyer llofen'al Service at 504-561-8828. This Rel'erral Scrvice operates in conjunction with the New
Orleans Bar Assoeiation. lf you qualit`y, you may be entitled to free legal assistance through the New
Orleans Legal Assisttmce Corp. Yon may call them at 800-624»477| or 504-525-4431.

****"***COURT PERSONNEL AR.E NOT PERMI'ITED TO GIVE LEGAL ADVl CE********

lN WITNESS l-IEREOI", I have hereunto set tn_v hand and affix the seal of the Civll Distrlct Court for the
Pat'ish of Orlenns, Statc of LA Mny 9, 2016

 

 

 

 

 

 

 

 

 

 

 

 

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C|et'k's Ol`|`l€c, Roum 402, Civll Courls DALE N. Tl(.lNS, Clct’k of
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New Ot'leans, LA for the Po ish af Orleaus
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_ Steplianie'Panquernc, eputy Clerk
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